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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-340-RAJ
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   MANUEL MENDEZ-CHAVEZ,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged: Conspiracy to Distribute Cocaine; Distribution of Methamphetamine,

15 Distribution of Cocaine; Forfeiture Allegations

16 Date of Detention Hearing:     Initial Appearance October 9, 2009

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is reportedly a citizen of Mexico.


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01         (2)     The United States alleges that his presence in this country is illegal. There is an

02 immigration detainer pending against him. The issue of detention in this case is therefore

03 essentially moot, as the defendant would be released to immigration custody if not detained in

04 this case.

05         (3)     Defendant and his counsel offer no opposition to the entry of an order of detention.

06         (4)     Upon advice of counsel, defendant declined to be interviewed by Pretrial Services.

07 Therefore, there is limited information available about him.

08         (5)     There does not appear to be any condition or combination of conditions that will

09 reasonably assure the defendant’s appearance at future Court hearings while addressing the

10 danger to other persons or the community.

11 It is therefore ORDERED:

12         (1)     Defendant shall be detained pending trial and committed to the custody of the

13                 Attorney General for confinement in a correction facility separate, to the extent

14                 practicable, from persons awaiting or serving sentences or being held in custody

15                 pending appeal;

16         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

17                 counsel;

18         (3)     On order of a court of the United States or on request of an attorney for the

19                 Government, the person in charge of the corrections facility in which defendant

20                 is confined shall deliver the defendant to a United States Marshal for the purpose

21                 of an appearance in connection with a court proceeding; and

22         (4)     The clerk shall direct copies of this Order to counsel for the United States, to


     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01               counsel for the defendant, to the United States Marshal, and to the United States

02               Pretrial Services Officer.

03         DATED this 9th day of October, 2009.



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05                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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